Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                           Exhibit A Page 1 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                           Exhibit A Page 2 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                           Exhibit A Page 3 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                           Exhibit A Page 4 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                           Exhibit A Page 5 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                           Exhibit A Page 6 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                           Exhibit A Page 7 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                           Exhibit A Page 8 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                           Exhibit A Page 9 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 10 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 11 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 12 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 13 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 14 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 15 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 16 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 17 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 18 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 19 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 20 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 21 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 22 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 23 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 24 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 25 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 26 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 27 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 28 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 29 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 30 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 31 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 32 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 33 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 34 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 35 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 36 of 37
Case 08-14631-GMB   Doc 391-1 Filed 06/20/08 Entered 06/20/08 17:24:53   Desc
                          Exhibit A Page 37 of 37
